                                     Case 4:21-cv-00460-JM Document 1-1 Filed 05/27/21 Page 1 of 1

 JS4Q (Rt\·.04i21)                                                                                    CIVIL COVERSHEET                                                                           1-/: 21-~v-J./l:,o -7.A\
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 pnJ\'ided by local nlles of cou:t. Thls form. :ipprovcd by ihc Judicial C"nferencc of lhe United States in September 1974. is r-.-quirecl"f'or 1he use of the Clerk of Coun for 1hc
 purpose of iniliatlng 1he civil docket sheet. (SEE INST1WCTIONS o.v;VE>.7 P.~GE o.r: TIIIS F0/14'1.)
 I. (a) PLAINTIFFS                                                                                                                                            DEFENDANTS
             Liberty Initiative Fund, U.S.Term Limits, Arkansas Term                                                                                          John Thurston, In his official capacity as the Secretary of
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     (b) Counly ofResi,Je~ of First Listed Plaintiff Ponce WUljam. VA                                                                                         Coun1y ofResfdcnce of l'irstLisicd Defendant                                              ...e_.u..l~a'"'s,.,k._.l,...A'-"'-'R.______
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             William Hyman, King Law Group
             300 North 6th Street, Fort Smith. AR, 12901
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